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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 KONNECH, INC.,
                             Plaintiff
 vs.
                                                                Case No. 4:22-cv-03096
 TRUE THE VOTE, INC.,
 GREGG PHILLIPS, and
 CATHERINE ENGELBRECHT
                             Defendants.

                     NOTICE OF APPEARANCE OF J. MARK BREWER
                          AS CO-COUNSEL TO DEFENDANTS

        The undersigned enters an appearance as Co-Attorney-in-Charge for Defendants True the

Vote, Inc., Gregg Phillips, and Catherine Engelbrecht (collectively “Defendants”), is authorized

to receive service of all pleadings, notices, orders and other papers in the above-captioned matter

on behalf of Defendants in his Individual and Official Capacity, and requests CM/ECF notification

for filings in the case.

                                         J. Mark Brewer
                                     State Bar No. 02965010
                                           SDTX 9909
                                       Brewer@bplaw.com
                                     Brewer & Pritchard, P.C.
                                    Telephone: (713) 209-2910




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                                            Respectfully submitted,


                                            /s/ J. Mark Brewer
                                            J. Mark Brewer
                                            State Bar No. 02965010
                                            SDTX 9909
                                            BREWER & PRITCHARD, P.C.
                                            800 Bering Dr., Suite 201
                                            Houston, Texas 77057
                                            Telephone: (713) 209-2910
                                            Brewer@bplaw.com
                                            Attorney for Defendants
                                            True the Vote, Inc., Gregg Phillips, and
                                            Catherine Engelbrecht



CO-COUNSEL:

Brock C. Akers
SDTX No. 2046
State Bar No. 00953250
THE AKERS FIRM, PLLC
3401 Allen Parkway, Suite 101
Houston, Texas 77019
Telephone: 713-877-2500
Facsimile: 713-583-8662
bca@akersfirm.com




                                CERTIFICATE OF SERVICE

       I certify that on October 5, 2022, a true and correct copy of this document was properly
served on counsel of record via electronic filing in accordance with the USDC, Southern District
of Texas Procedures for electronic filing.


                                            /s/ J. Mark Brewer
                                            J. Mark Brewer




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